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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

Criminal No. 18-10106-PBS

                                UNITED STATES OF AMERICA

                                                 v.

                                      DEMONE COLEMAN

                              ORDER ON EXCLUDABLE TIME

                                            May 1, 2018

Boal, M.J.

       The defendant has elected to proceed under the Automatic Discovery Rules in accordance

with Local Rules 116.1 through 116.5. The Court finds that the interests of justice in this case,

i.e., to provide the parties additional time to develop their respective discovery plans, to produce

discovery under the automatic discovery process, to evaluate the discovery and to seek additional

discovery, and for the defendant to consider the need for pre-trial motions, outweigh the best

interests of the public and defendant for a trial within seventy days of the filing date (and making

public) of the indictment.

       Accordingly, it is hereby ORDERED that, pursuant to the provisions of 18 U.S.C. §

3161(h)(7)(A) and Section 5(b)(7)(B) of the Plan for Prompt Disposition of Criminal Cases in

the United States District Court for the District of Massachusetts (Statement of Time Limits

Adopted by the Court and Procedures for Implementing Them, Effective December 2008) and

Local Rule 112.2(a)(1), the Clerk of this Court enter excludable time for the period from April




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19, 2018, which was the filing date (and making public) of the indictment, up to and including

June 1, 2018, which is the date of the initial status conference. 1


                                                /s/ Jennifer C. Boal
                                               JENNIFER C. BOAL
                                               United States Magistrate Judge




1
  The parties are hereby advised that under the provisions of Rule 2(b) of the Rules for United
States Magistrates in the United States District Court for the District of Massachusetts, any party
may move for reconsideration by a district judge of the determination(s) and order(s) set forth
herein within fourteen (14) days after receipt of a copy of this order, unless a different time is
prescribed by this court or the district judge. The party seeking reconsideration shall file with the
Clerk of this Court, and serve upon all parties, a written notice of the motion which shall
specifically designate the order or part thereof to be reconsidered and the basis for the objection
thereto. The district judge, upon timely motion, shall reconsider the magistrate judge's order and
set aside any portion thereof found to be clearly erroneous in fact or contrary to law. The parties
are further advised that the United States Court of Appeals for this Circuit has indicated that
failure to comply with this rule shall preclude further appellate review. See Phinney v.
Wentworth Douglas Hosp., 199 F.3d 1 (1st Cir. 1999); Sunview Condo. Ass’n v. Flexel Int’l,
Ltd., 116 F.3d 962 (1st Cir. 1997); Pagano v. Frank, 983 F.2d 343 (1st Cir. 1993).

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